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     ___________________________________________________________________________
 4
                       The Above Space Reserved for the Clerk of Court

 5
     ANDERSEN & BROYLES, LLP
 6   Karl Andersen, Esq.
     Nevada State Bar Number 10306
 7   5550 Painted Mirage Road, Suite 320
     Las Vegas, Nevada 89149
 8
     Telephone: (702) 220-4529
 9   Facsimile: (702) 834-4529
     Email: karl@andersenbroyles.com
10   Attorneys for Plaintiffs Injury Loans.com, LLC
11
     and Adam Stokes
                                 UNITED STATES DISTRICT COURT
12                                      DISTRICT OF NEVADA
     INJURYLOANS.COM, LLC, a Nevada entity;
13                                                  Case No.: 2:18-cv-01926-GMN-VCF
     ADAM STOKES, an individual,
14
                          Plaintiffs,
15
     v.
16
     SERGIO BUENROSTRO, an individual;
17
     SANDRA MARTINEZ, an individual; S&S                STIPULATION AND ORDER TO
     MARKETING CONSULTING, LLC, a                        DISMISS WITH PREJUDICE
18
     Nevada limited liability company,
19
                          Defendants.
20

21
            PLAINTIFFS InjuryLoans.com, LLC and Adam Stokes (Plaintiffs), by and through
22
     their counsel of record KARL ANDERSEN ESQ.; and all remaining defendants, Sergio
23
     Buenrostro (Defendant) as a person, Sandra Martinez (Defendant) as a person, Third Party
24

25   Defendant S&S Marketing (Defendant), by and through their counsel of record KENNETH

26   E. HOGAN, ESQ., do hereby stipulate and agree that they have entered into a settlement and
27

28

                                             Page 1 of 2
         Case 2:18-cv-01926-GMN-VCF Document 204 Filed 03/30/22 Page 2 of 2




     the above-entitled action shall be dismissed with prejudice in accordance with FED. R. CIV.
 1

 2   P. 41(a)(2).

 3          The parties also stipulate and agree that the settlement conference ordered in ECF
 4
     document No. 201, set for May 10, 2022 shall be vacated.
 5
            Each party shall bear its own attorney’s fees, prejudgment interest, and costs of suit.
 6

 7
            DATED THIS 29th day of March, 2022.

 8    HOGAN HULET PLLC                                ANDERSEN & BROYLES, LLP
 9
      /s/ Kenneth Hogan                               /s/ Karl Andersen
10    KENNETH E. HOGAN, ESQ.                          KARL J. ANDERSEN, ESQ.
      Nevada Bar No. 10083                            Nevada Bar No. 10306
11    JEFFREY L. HULET, ESQ.                          ANDERSEN & BROYLES, LLP
      Nevada Bar No. 10621                            5550 Painted Mirage Road, Suite 320
12    1140 N. Town Center Drive, Suite 300            Las Vegas, Nevada 89149
      Las Vegas, Nevada 89144
13
      Attorney for Sergio Buenrostro, Sandra Attorney for Injuryloans.com, LLC and Adam
                                              Stokes
14    Martinez, and S&S Marketing, Consulting
      LLC
15

16
                                                ORDER
17

18

19        IT IS SO ORDERED.
20
          IT IS FURTHER ORDERED that the Clerk of Court shall
21        close this case.

22        Dated this ____
                     30 day of March, 2022.
23

24
          ___________________________
25
          Gloria M. Navarro, District Judge
26        UNITED STATES DISTRICT COURT
27

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